        Case 2:20-bk-51518                   Doc 7 Filed 03/18/20 Entered 03/18/20 10:06:21                                         Desc Ch 13
                                               341 - Effective 12/1/17 Page 1 of 2
Information to identify the case:
Debtor 1              Carl Wilde Mackey Jr.                                                      Social Security number or ITIN    xxx−xx−2885

                      First Name   Middle Name    Last Name                                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name    Last Name
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court      Southern District of Ohio
                                                                                                 Date case filed for chapter 13 3/17/20
Case number: 2:20−bk−51518          Case Assigned To: C. Kathryn Preston



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).


The staff of the bankruptcy clerk's office cannot give legal advice.


To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                                 About Debtor 2:
1. Debtor's full name                        Carl Wilde Mackey Jr.

2. All other names used in the
   last 8 years
                                             PO Box 1917
3. Address                                   Gambier, OH 43022
                                             Clay L Woods                                                   Contact phone 937−601−0401
4. Debtor's  attorney
   Name and address
                                             West Law Offices
                                             195 E. Central Ave.
                                                                                                            Email: westlawecf@gmail.com

                                             Springboro, OH 45066

5. Bankruptcy trustee                        Frank M Pees                                                    Contact phone (614) 436−6700
     Name and address                        130 East Wilson Bridge Road                                     Email: trustee@ch13.org
                                             Suite 200
                                             Worthington, OH 43085

6. Bankruptcy clerk's office                                                                                 Hours open 9:00 am − 4:00 pm Monday
     Documents in this case may be filed                                                                     through Friday
     at this address.                        170 North High Street                                           Contact phone (614)469−6638
     You may inspect all records filed in    Columbus, OH 43215−2414                                         Date: 3/19/20
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2
Official Form 309I                                   Notice of Chapter 13 Bankruptcy Case                                                  page 1
       Case 2:20-bk-51518                       Doc 7 Filed 03/18/20 Entered 03/18/20 10:06:21                                                   Desc Ch 13
                                                  341 - Effective 12/1/17 Page 2 of 2
Debtor Carl Wilde Mackey Jr.                                                                                                               Case number 2:20−bk−51518
7. Meeting of creditors
    Debtors must attend the meeting to April 15, 2020 at 10:30 AM                                           Location:
    be questioned under oath. In a joint                                                                   170 North High Street, Suite 100, Columbus,
    case, both spouses must attend.      The meeting may be continued or adjourned to a later date. If so, OH  43215
    Creditors may attend, but are not
    required to do so.                   the date will be on the court docket. No unauthorized weapons are
                                              permitted on the court's premises. Cellular phones and portable
                                              electronic devices are permitted provided that they are not used to
                                              take photographs or record any court proceedings unless
                                              otherwise authorized by the court.

8. Deadlines                                   Deadline to file a complaint to challenge                                    Filing deadline: 6/15/20
    The bankruptcy clerk's office must         dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                                 You must file:
                                               • a motion if you assert that the debtors are
                                                  not entitled to receive a discharge under
                                                  U.S.C. § 1328(f) or
                                               • a complaint if you want to have a particular
                                                  debt excepted from discharge under
                                                  11 U.S.C. § 523(a)(2) or (4).
                                               Deadline for all creditors to file a proof of claim Filing deadline: 5/26/20
                                               (except governmental units):
                                               Deadline for governmental units to file a proof of  Filing deadline: 9/14/20
                                               claim:
                                               Deadline for Rule 3001(c)(1) and (d) attachments to Filing deadline: 7/15/20
                                               a Rule 3002(c)(7) claim:


                                               Deadlines for filing proof of claim:
                                                A proof of claim is a signed statement describing a creditor's claim. If you would like to electronically complete
                                               and file a Proof of Claim form, you may do so at the following web site: https://www.ohsb.uscourts.gov/epoc

                                               If you do not have access to a computer, or prefer to file the Proof of Claim manually, a Proof of Claim form can
                                               be obtained at http://www.uscourts.gov or at any bankruptcy clerk's office.

                                               If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                               a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                               Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                               claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                               For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                               including the right ot a jury trial.


                                               Deadline to object to exemptions:                                             Filing deadline:     30 days after the
                                               The law permits debtors to keep certain property as exempt. If you                                 conclusion of the
                                               believe that the law does not authorize an exemption claimed, you                                  meeting of creditors
                                               may file an objection.

                                               Deadline to Object to Plan:
                                               Objections to confirmation of a plan shall be in writing, filed and
                                               served on debtor, the debtor's attorney, the trustee, and the United
                                               States trustee, and shall bear a certificate of service dated not later
                                               than fourteen (14) days after the § 341 meeting is concluded.

9. Filing of plan                             The debtor has not filed a plan as of this date. The plan will be sent separately. The hearing on confirmation will
                                              be held: 5/21/20 at 01:00 PM , Location: Courtroom C, U.S. Bankruptcy Court, 170 North High Street, Fifth
                                              Floor, Columbus, OH 43215
10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                    extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                               any questions about your rights in this case.
11. Filing a chapter 13                        Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                            according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                               plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                               the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                               debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                               court orders otherwise.
12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                               distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                               exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                               the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                         Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                               However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                               are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                               as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C.
                                               § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the
                                               deadline. If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C.
                                               § 1328(f), you must file a motion by the deadline.
If you would like to receive all future notices from the Bankruptcy Court electronically (email), you may register for the courts free Electronic Bankruptcy Noticing (EBN)
service. EBN is reliable, fast, and efficient. Additional details and registration are available at: https://bankruptcynotices.uscourts.gov
Official Form 309I                                                Notice of Chapter 13 Bankruptcy Case                                                             page 2
